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  8                          UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                           CASE NO. 12cr3885-LAB-7 and
                                                           12cv3075-LAB
 12                                     Plaintiff,
             vs.                                           ORDER DENYING MOTION TO
 13                                                        VACATE SENTENCE PURSUANT
       JESUS BELTRAN-ZUNIGA,                               TO 28 U.S.C. § 2255
 14
                                     Defendant.
 15
 16
 17         Jesus Beltran-Zuniga pleaded guilty to one count of conspiracy to import marijuana

 18   and aiding and abetting. Pursuant to his plea agreement, both Beltran-Zuniga's counsel and

 19   the government recommended a guideline range of 30 to 37 months, and his counsel

 20   requested the low-end sentence of 30 months. (See Docket nos. 58 (Plea Agreement), 98

 21   (government's sentencing summary chart), 107 (Beltran-Zuniga's sentencing summary

 22   chart).) The Court sentenced him to 37 months' imprisonment followed by supervised

 23   release. (Docket no. 123 (Judgment).) Under his plea agreement, Beltran-Zuniga waived

 24   appeal and collateral attack unless the Court both denied him the recommended minor role

 25   adjustment and also sentenced him to a custodial term higher than high end of the

 26   agreed-upon recommended guideline range. (Plea Agreement at 8:11–22.) Since Beltran-

 27   Zuniga was sentenced within that range, he has waived collateral attack.

 28   ///


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  1          Ignoring the fact that he had waived collateral attack, Beltran-Zuniga filed a motion
  2   to vacate his sentence, pursuant to 28 U.S.C. § 2255. The motion is a boilerplate pleading
  3   that has been photocopied so many times it has become nearly illegible and some sections
  4   have to be hand-written in. This pleading has apparently been circulating among prisoners,
  5   and its arguments have consistently and repeatedly been denied as meritless by this Court
  6   and other courts. See, e.g., Patterson-Romo v. United States, 2012 WL 2060872 (S.D.Cal.,
  7   June 7, 2012) (Gonzalez, J.); United States v. Beltran-Palafox, 2012 WL 899262 at *2 and
  8   n.14 (D.Kan., Mar. 16, 2012); Aguilar-Marroquin v. United States, 2011 WL 1344251
  9   (S.D.Cal., Apr. 8, 2011) (Huff, J.); Rendon-Inzunza v. United States, 2010 WL 3076271
 10   (S.D.Cal., Aug. 6, 2010) (Burns, J.).
 11          Even if Beltran-Zuniga had not waived collateral attack, his motion would fail on the
 12   merits. The motion is DENIED.
 13
 14          IT IS SO ORDERED.
 15   DATED: January 14, 2013
 16
 17                                              HONORABLE LARRY ALAN BURNS
                                                 United States District Judge
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